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 Information to identify the case:
 Debtor
                   Logos Incorporated                                                          EIN 26−3899073
                   Name


 United States Bankruptcy Court District of Maryland
                                                                                               Date case filed for chapter 11 5/9/22
 Case number: 22−12491 DER                    Chapter: 11


Official Form 309F2 (For Corporations or Partnerships under Subchapter V)

Notice of Chapter 11 Bankruptcy Case                                                                                                                   10/20

For the debtor listed above, a case has been filed under chapter 11 of the Bankruptcy Code. An order for relief has
been entered.
This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.
The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not take action to collect debts
from the debtor or the debtor's property. For example, while the stay is in effect, creditors cannot sue, assert a deficiency, repossess property, or
otherwise try to collect from the debtor. Creditors cannot demand repayment from the debtor by mail, phone, or otherwise. Creditors who violate the stay
can be required to pay actual and punitive damages and attorney's fees.
Confirmation of a chapter 11 plan may result in a discharge of debt. A creditor who wants to have a particular debt excepted from discharge may be
required to file a complaint in the bankruptcy clerk's office within the deadline specified in this notice. (See line 11 below for more information.)
To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at the address listed below or
through PACER (Public Access to Court Electronic Records at https://pacer.uscourts.gov).

The staff of the bankruptcy clerk's office cannot give legal advice. Consult a lawyer to determine your rights in this case. Visit
http://www.mdb.uscourts.gov/ and click on Filing Without An Attorney for additional resources and information.

Do not file this notice with any proof of claim or other filing in the case.



  1. Debtor's full name                       Logos Incorporated


  2. All other names used in the dba 510 Johnnys
     last 8 years


  3. Address                                  510 Market Place Drive
                                              Bel Air, MD 21014

                                              Robert B. Scarlett                                         Contact phone (410) 468−3100
                                              Scarlett & Croll, P.A.                                     Email: RScarlett@ScarlettCroll.com
  4. Debtor's attorney                        201 N. Charles Street
      Name and address                        Suite 600
                                              Baltimore, MD 21201−4110


  5. Bankruptcy trustee                       Lawrence A. Katz                                             Contact phone 703−584−8362
      Name and address                        Hirschler Fleischer                                          Email: lkatz@hirschlerlaw.com
                                              8270 Greensboro Drive
                                              Suite 700
                                              Tysons, VA 22102

  6. Bankruptcy clerk's office                Baltimore Division                                          Hours open:
      Documents in this case may be filed     101 West Lombard Street, Ste. 8530                          8:45 − 4:00 PM
      at this address.                        Baltimore, MD 21201
      You may inspect all records filed in                                                                Contact phone (410) 962−2688
      this case at this office or online at
      https://pacer.uscourts.gov.             Clerk of the Bankruptcy Court:
                                              Mark A. Neal                                                Date: 5/12/22

                                                                                                           For more information, see page 2 >

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Debtor Logos Incorporated                                                                                                          Case number 22−12491


  7. Meeting of creditors
      The debtor's representative must    June 1, 2022 at 10:00 AM
      attend the meeting to be questioned                                                                  Location:
      under oath.                         The meeting may be continued or adjourned to a later              See https://go.usa.gov/xeHZq
      Creditors may attend, but are not   date. If so, the date will be on the court docket.
      required to do so.


  8. Proof of claim deadline                  Deadline for filing proof of claim:
                                              For all creditors (except a governmental unit): 7/18/22
                                              For a governmental unit: 11/7/22

                                              A proof of claim is a signed statement describing a creditor's claim. A Proof of Claim may be filed
                                              electronically from the court's web site at http://www.mdb.uscourts.gov/content/electronic−filing−claims. A
                                              proof of claim form may be obtained at www.uscourts.gov or any bankruptcy clerk's office.

                                              Your claim will be allowed in the amount scheduled unless:

                                                      • your claim is designated as disputed, contingent, or unliquidated;
                                                      • you file a proof of claim in a different amount; or
                                                      • you receive another notice.
                                              If your claim is not scheduled or if your claim is designated as disputed, contingent, or unliquidated, you
                                              must file a proof of claim or you might not be paid on your claim and you might be unable to vote on a plan.
                                              You may file a proof of claim even if your claim is scheduled.

                                              You may review the schedules at the bankruptcy clerk's office or online at https://pacer.uscourts.gov.

                                              Secured creditors retain rights in their collateral regardless of whether they file a proof of claim. Filing a
                                              proof of claim submits a creditor to the jurisdiction of the bankruptcy court, with consequences a lawyer can
                                              explain. For example, a secured creditor who files a proof of claim may surrender important nonmonetary
                                              rights, including the right to a jury trial.


  9. Exception to discharge                   If § 523(c) applies to your claim and you seek to have it excepted from discharge, you must start a judicial
     deadline                                 proceeding by filing a complaint by the deadline stated below.
      The bankruptcy clerk's office must
      receive a complaint and any required
      filing fee by the following deadline.   Deadline for filing the complaint:


                                                If you are a creditor receiving notice mailed to a foreign address, you may file a motion asking the court to
  10. Creditors
      address
                with a foreign                  extend the deadlines in this notice. Consult an attorney familiar with United States bankruptcy law if you
                                                have any questions about your rights in this case.


                                              Chapter 11 allows debtors to reorganize or liquidate according to a plan. A plan is not effective unless the
                                              court confirms it. You may receive a copy of the plan and a disclosure statement telling you about the plan,
  11. Filing a Chapter 11
      bankruptcy case
                                              and you may have the opportunity to vote on the plan. You will receive notice of the date of the confirmation
                                              hearing, and you may object to confirmation of the plan and attend the confirmation hearing. Unless a
                                              trustee is serving, the debtor will remain in possession of the property and may continue to operate its
                                              business.


                                              Confirmation of a chapter 11 plan may result in a discharge of debts, which may include all or part of your
                                              debt. See 11 U.S.C. § 1141(d). A discharge means that creditors may never try to collect the debt from the
  12. Discharge of debts                      debtor except as provided in the plan. If you want to have a particular debt owed to you excepted from the
                                              discharge and § 523(c) applies to your claim, you must start a judicial proceeding by filing a complaint and
                                              paying the filing fee in the bankruptcy clerk's office by the deadline.


                                              The U.S. Bankruptcy Court for the District of Maryland offers all parties the ability to receive court notices
  13. Debtor electronic
      bankruptcy noticing
                                              and orders via email, instead of U.S. mail. To participate, debtors must complete and file a DeBN request
                                              form with the Court −− additional information is available under Programs & Services at
                                              http://www.mdb.uscourts.gov. Other parties (non−debtors) can register at ebn.uscourts.gov.




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